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                                         August 2, 2018
VIA ELECTRONIC-FILING

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801-3556

        Re:     Citrix Systems, Inc. v. Workspot, Inc., C.A. No. 18-588-LPS

Dear Chief Judge Stark:

       The parties in the above-referenced matters write to request the scheduling of a discovery
teleconference. The following attorneys, including at least one Delaware Counsel and at least
one Lead Counsel per party, participated in a verbal meet-and-confer (by telephone) on August
1, 2018:

August 1, 2018

For Plaintiff Citrix Systems, Inc.:

        Delaware Counsel:      Brian A. Biggs
        Lead Counsel:          Michael G. Strapp; Yasmin Ghassab

For Defendant Workspot, Inc.:

        Delaware Counsel:      Bindu A. Palapura
        Lead Counsel:          Brian K. Andrea

       Counsel respectfully request that Your Honor schedule a discovery dispute
teleconference to resolve the following issue:

        •       Whether Citrix should be compelled to produce unredacted versions of certain
                documents

                                                            Respectfully,
                                                            /s/ Bindu A. Palapura
                                                            Bindu A. Palapura
5883395/45039
cc:     Clerk of the Court (via hand delivery)
        Counsel of Record (via electronic mail)
